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 13
                         UNITED STATES DISTRICT COURT
 14
 15                    CENTRAL DISTRICT OF CALIFORNIA
 16   LSCC LLC, an Arkansas limited liability
      corporation, individually and on behalf of    Case No.
 17   themselves and all others similarly situated,
 18                                                 CLASS ACTION COMPLAINT
                   Plaintiffs,                                AND
 19
                                                     DEMAND FOR JURY TRIAL
 20         vs.
 21
      WILCO LIFE INSURANCE COMPANY                    1.   Breach of Contract
 22   f/k/a CONSECO LIFE INSURANCE
      COMPANY,
 23
 24               Defendant.
 25
 26
 27
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   1         Plaintiff LSCC LLC (“Plaintiff”), by and through its undersigned attorneys,
   2 brings this action on behalf of itself and all others similarly situated against
   3 Defendant Wilco Life Insurance Company f/k/a Conseco Life Insurance Company
   4 (collectively, “Wilco”). Plaintiff alleges the following on information and belief,
   5 except as to those allegations that pertain to the Plaintiff which are alleged on
   6 personal knowledge.
   7                             NATURE OF THE ACTION
   8               By order and judgment dated July 3, 2007 (“the Final Judgment”)
   9 entered in In re Conseco Life Insurance Company Cost of Insurance Litigation,
  10 Docket No. MDL 04-1610-AHM (Mcx) (“the MDL Action”), this Court approved
  11 a class action Stipulation of Settlement (“the Settlement Agreement”) on behalf of
  12 a certified settlement class of policyholders (“the Settlement Class”), and expressly
  13 retained jurisdiction over any subsequent action to enforce its terms.
  14               The Final Judgment not only approved but incorporated the terms of
  15 the Settlement Agreement, under which Wilco (then known as Conseco) agreed to
  16 provide to certain members of the Settlement Class (those holding a policy in-force
  17 as of March 2, 2006, that was projected to terminate before the insured turned 100
  18 years old) with one of two forms of settlement relief: either (a) an in-force death
  19 benefit extension of coverage for each policy for a specified period of time after the
  20 policy would otherwise terminate (“the Extension Benefit”) or (b) a specified cash
  21 contribution (“the Cash Contribution”). Members of the Settlement Class eligible
  22 for such relief who did not affirmatively elect the Cash Contribution received the
  23 Extension Benefit by default.
  24               The Settlement Agreement makes it abundantly clear that the
  25 Extension Benefit provides additional life insurance coverage for a specified period
  26 of time (“the Extension Period”) at no cost to the policyholder.
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   1               As shown below, however, in breach of the Court-approved Settlement
   2 Agreement, Wilco has been systematically reducing the death benefits paid on
   3 claims made under the Extension Period by unilaterally applying a retroactive
   4 premium charge (“the Retroactive Premium Charge”) relating to an unused and
   5 expired 61-day grace period inapplicable to deaths occurring more than 60 days
   6 after the policy’s termination date. Indeed, the standardized policy language
   7 specifically states a premium payment for such grace period coverage is due only if
   8 the insured dies during the 60-day grace period: “If the insured dies during the
   9 grace period, any past due monthly deductions will be deducted from the proceeds.”
  10 Accordingly, Wilco does not charge or otherwise collect a premium for a grace
  11 period once it expires with no claim for benefits thereunder. Yet contrary to the
  12 explicit “no cost” terms of the Court-approved Settlement Agreement, Wilco is
  13 deducting the Retroactive Premium Charge for the expired grace period from the
  14 proceeds paid pursuant to the Extension Benefit.
  15               For example, Plaintiff is the owner and beneficiary of four policies
  16 subject to the Extension Benefit. The insured under all four policies, Stephen W.
  17 Creekmore, passed away several years after each policy’s 60-day grace period but
  18 during each policy’s respective Extension Period. Although Wilco paid a death
  19 benefit on each policy to Plaintiff as required by the Settlement Agreement’s
  20 Extension Benefit, it simultaneously and unilaterally reduced each such payment
  21 by imposing the Retroactive Premium Charge for coverage purportedly extended
  22 under a grace period provision in each policy, even though the grace period had
  23 long since expired without any claim for death benefits thereunder. In short,
  24 although payment of the death proceeds under the Court-approved Settlement
  25 Agreement’s Extension Benefit was in no way predicated upon the existence or
  26 application of the policies’ grace period provisions, Wilco nevertheless reduced
  27
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   1 Plaintiff’s settlement proceeds by charging the Retroactive Premium Charge for the
   2 expired and unused grace period.
   3                Plaintiff brings this class action on behalf of itself and all other
   4 members of the Settlement Class entitled to the Extension Benefit under the
   5 Settlement Agreement and/or their beneficiaries to the extent Wilco has already
   6 paid a death benefit under the Extension Benefit reduced by the Retroactive
   7 Premium Charge (collectively, “the Extension Class”).
   8                Wilco’s systematic reduction of the payment of death proceeds during
   9 the Extension Period through its unilateral imposition of the Retroactive Premium
  10 Charge constitutes a breach of the Court-approved Settlement Agreement requiring
  11 that life insurance coverage during the Extension Period be provided at no cost to
  12 Plaintiff and other members of the Extension Class.
  13                                     THE PARTIES
  14                Plaintiff is a limited liability company incorporated under the laws of
  15 Arkansas with its principal place of business in Florida; Plaintiff is thus a citizen of
  16 the States of Arkansas and Florida.
  17                Defendant Wilco is a corporation organized under Indiana law, with
  18 its principal place of business located in Connecticut. Wilco was formerly known
  19 as Conseco Life Insurance Company, which maintained its home offices in Indiana.
  20 Wilco is thus a citizen of the State of Indiana and Connecticut.
  21                            JURISDICTION AND VENUE
  22                This Court has jurisdiction over this action based on its exercise of
  23 continuing jurisdiction under the Final Judgment.
  24                Alternatively, this Court has subject matter jurisdiction based on
  25 diversity of citizenship under 28 U.S.C. § 1332. Plaintiff and Wilco are diverse
  26 citizens. Plaintiff furthermore alleges claims on behalf of the Extension Class, a
  27 national class of policyholders who are minimally diverse from Wilco, and the
  28                                       3
                                CLASS ACTION COMPLAINT
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   1 aggregate of these claims exceed $5,000,000. This Court accordingly has subject
   2 matter jurisdiction over this case under the Class Action Fairness Act, 28 U.S.C. §
   3 1332(d)(2).
   4               Venue is proper in this District under the terms of the Final Judgment,
   5 and under 28 U.S.C. § 1391.
   6                            FACTUAL ALLEGATIONS
   7               The Terms of the Court-Approved Settlement Agreement
   8               In the Final Judgment, a true and accurate copy of which is attached as
   9 Exhibit A, this Court approved the terms of the Settlement Agreement, a true and
  10 accurate copy of which is attached as Exhibit B.
  11               The Settlement Agreement in pertinent part defines the Extension
  12 Benefit as follows:
  13
           “In-Force Death Benefit Extension” means the time period during
  14       which insurance coverage for the Policy Face Amount of in In-Force
  15       Policy otherwise projected to Terminate prior to age 100 due to the
           elimination of the R-Factor will be extended and remain in force after
  16       the otherwise applicable Termination Date with no cost of insurance
  17       or other policy charge to the Class Member.

  18 Settlement Agreement, § II.A.34, at 10 (emphasis added).
  19               The Settlement Agreement further provides that the Death Benefit
  20 Extension is intended to extend insurance coverage, after the grace period has
  21 expired, at no cost to the Settlement Class Member:
  22         The In-Force Death Benefit Extension operates to extend the insurance
  23         coverage on the In-Force Policy for a specified period after the
             otherwise applicable Termination Date, at no cost to the Class
  24
             Member, to mitigate the impact of the elimination of the R-Factor.
  25
       Settlement Agreement, § III.A.2, at 15 (emphasis added).
  26
  27
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   1               The Settlement Agreement further provides that each Settlement Class
   2 Member’s “right to receive relief under this Agreement” – including the Extension
   3 Benefit – “is governed solely by the terms of this Agreement and not by the terms
   4 of the Class Member’s policy.” Settlement Agreement, §III.D.6, at 22.
   5               Finally, the Settlement Agreement also provides: “Except as expressly
   6 provided by this Agreement, neither this Agreement nor any of the relief to be
   7 offered under the proposed settlement shall be interpreted to alter in any way the
   8 contractual terms of any Policy, or to constitute a novation of any Policy.”
   9 Settlement Agreement, §XV.L, at 50.
  10               The Court in the Final Judgment (a) expressly incorporated the terms
  11 of the Settlement Agreement by reference, and (b) expressly approved the
  12 Settlement Agreement under Rule 23, Federal Rules of Civil Procedure. See
  13 Exhibit A, at ¶¶ 1 & 5. The Court also explicitly retained jurisdiction over any
  14 action to enforce the terms and conditions of the Settlement Agreement. Id. at ¶ 11.
  15               The Class Notice sent to members of the Settlement Class reiterated
  16 (a) that the Extension benefit operates “to extend the insurance coverage at no cost
  17 for a specified period subsequent to the date when the Policy would otherwise
  18 terminate” and (b) that the Extension Period “will begin when your Policy would
  19 otherwise terminate” and “will run uninterrupted until it expires.”
  20               Wilco’s Systematic Application of the Retroactive Premium
                   Charge
  21
  22               Plaintiff is the owner and sole beneficiary of four policies insuring the
  23 life of Steven W. Creekmore, each of which is afforded the Extension Benefit under
  24 the Settlement Agreement: Policy #            2444; Policy #         5890; Policy
  25 #         1900; and Policy #         9710.
  26
  27
  28                                      5
                               CLASS ACTION COMPLAINT
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   1               Plaintiff on or about July 26, 2018, notified Wilco of Mr. Creekmore’s
   2 passing – many years after each Policy’s termination date, but within each Policy’s
   3 Extension Period under the Settlement Agreement.
   4               Wilco in response sent Plaintiff four checks for death proceeds in
   5 accordance with the Extension Benefit, but unilaterally reduced each for the
   6 Retroactive Premium Charge as follows:
   7         • Policy #         2444 – Retroactive Premium Charge: $729.81;
   8         • Policy #         5890 – Retroactive Premium Charge: $4,210.09;
   9         • Policy #         1900 – Retroactive Premium Charge: $27,024.21; and
  10         • Policy #         9710 – Retroactive Premium Charge: $1,765.93.
  11 A true and accurate copy of each check and check stub reflecting Wilco’s unilateral
  12 reduction for the retroactive Premium Charge is attached as Exhibit C.
  13               In total, Wilco unilaterally reduced the death benefits paid to Plaintiff
  14 under the Extension Benefit by $33,730.04 through the assessment of Retroactive
  15 Premium Charges.
  16               When Plaintiff questioned this reduction in death proceeds, Wilco by
  17 letter dated October 5, 2018 (a true an accurate copy of which is attached as Exhibit
  18 D) asserted that “in accordance with our normal practice, upon the death of the
  19 insured, the monthly deductions, from the date that the policy entered grace period
  20 to the date that the policy entered the Death Benefit Extension period, were
  21 deducted from the proceeds.” Exhibit D, at 1-2.              In other words, Wilco
  22 systematically reduces the payment through a Retroactive Premium Charge that is
  23 not authorized by the Settlement Agreement. Nor is Wilco’s systematic reduction
  24 of the Extension Benefit authorized by the policy terms: because the insured did not
  25 die during the policies’ grace period, under the policies’ own terms Plaintiff owed
  26 nothing following expiration of the grace period.
  27               Furthermore, Wilco’s explanation for the Retroactive Premium
  28                                      6
                               CLASS ACTION COMPLAINT
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   1 Charges introduces a further discrepancy, for in the letter Wilco itself admitted that
   2 the reduction in Plaintiff’s death proceeds did not in fact match the amount that
   3 would have been deducted had Mr. Creekmore passed away during the 61-day grace
   4 period. See Exhibit D, at 2.
   5                In any event, the Settlement Agreement – which emphasizes that the
   6 Extension Benefit shall be afforded to Plaintiff at no cost – nowhere authorizes
   7 Wilco to charge for grace period coverage where (as here) any such grace period is
   8 long-since expired and no claim is or ever was submitted during the 60-day grace
   9 period.
  10                          CLASS ACTION ALLEGATIONS
  11                Definition of Class: This action is brought by Plaintiff individually
  12 and on behalf of the following nationwide Extension Class pursuant to Rule 23
  13 (b)(3) of the Federal Rules of Civil Procedure:
  14         All Policyowners entitled to the Extension Benefit under the
             Settlement Agreement, or their beneficiaries to the extent Wilco has
  15
             already paid death proceeds based on the Extension Benefit but
  16         reduced by the Retroactive Premium Charge.
  17                Size of Class: The Extension Class consists of thousands of Wilco
  18 policyholders and beneficiaries, and is thus so numerous that joinder of all members
  19 would be impracticable.
  20                Adequacy of Representation: Plaintiff is willing and prepared to serve
  21 the Court and the proposed Extension Class in a representative capacity. Plaintiff
  22 will fairly and adequately protect the interests of the Class and have no interests that
  23 are adverse to, or which materially and irreconcilably conflict with, the interests of
  24 the other members of the Class.
  25                The self-interests of Plaintiff are co-extensive with and not
  26 antagonistic to those of absent Class members. Plaintiff will undertake to represent
  27 and protect the interests of absent Class members.
  28                                       7
                                CLASS ACTION COMPLAINT
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   1               Plaintiff has engaged the services of counsel indicated below who are
   2 experienced in complex class litigation and life insurance matters, will adequately
   3 prosecute this action, and will assert and protect the rights of and otherwise
   4 represent Plaintiff and the putative Class members.
   5               The Commonality of Questions of the Law and Fact: The claims of
   6 Plaintiff and other members of the Extension Class involve common questions of
   7 law and fact, including:
   8        a.     Whether Wilco claims the right to systematically reduce the
   9               death proceeds paid under the Settlement Agreement’s Extension
  10               Benefit through its imposition of the Retroactive Premium
  11               Charge;
  12        b.     Whether Wilco has thereby breached or anticipatorily breached
  13               its contractual obligations owed to Plaintiff and other members
  14               of the Extension Class under the Settlement Agreement; and
  15        c.     Whether Plaintiff and other members of the Extension Class are
  16               eligible for and entitled to restitution, compensatory damages, or
  17               such other relief as the Court may direct.
  18               Typicality of the Claims or Defenses of the Class Representatives:
  19 Plaintiff’s claims and defenses are typical of the claims and defenses of the other
  20 members of the Extension Class: Plaintiff is both the owner of policies subject to
  21 the Extension Benefit and the beneficiary under those policies following the death
  22 of the insured during the Extension Period.
  23               Rule 23(b)(3): This action is appropriate as a class action pursuant to
  24 Federal Rule of Civil Procedure 23 (b)(3).
  25               The common questions of law and fact listed above predominate over
  26 any individualized questions.
  27               A class action is superior to other available methods for the fair and
  28                                       8
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    1 efficient adjudication of this controversy, for the following reasons:
    2
              a.     Few, if any, Extension Class members could afford cost-
    3
                     effective legal redress on an individual basis for the wrongs that
    4
                     Wilco has committed against them, and absent Class members
    5
                     have no substantial interest in individually controlling the
    6
                     prosecution of individual actions;
    7
              b.     Once Wilco’s liability has been adjudicated with respect to its
    8
                     application and/or collection of the Retroactive Premium
    9
                     Charge, claims of all members of the Class can be determined by
   10
                     the Court;
   11
              c.     This action will ensure an orderly and expeditious administration
   12
                     of the Class’s claims and foster economies of time, effort, and
   13
                     expense, and ensure uniformity of decisions and compliance by
   14
                     Wilco with the Settlement Agreement;
   15
              d.     Without a class action, many Class Members would continue to
   16
                     suffer injury, and Wilco ’s actions will continue without redress
   17
                     while it continues to reap and retain the substantial proceeds and
   18
                     reductions in its future liabilities derived from its wrongful
   19
                     conduct; and
   20
              e.     This action does not present any undue difficulties that would
   21
                     impede its management by the Court as a class action.
   22
                     A class action is superior to other available means for the fair and
   23
        efficient adjudication of this controversy. The injuries suffered by individual Class
   24
        Members are, though important to them, relatively small compared to the burden
   25
        and expense of individual prosecution needed to address Wilco’s conduct.
   26
        Individualized litigation presents a potential for inconsistent or contradictory
   27
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                                  CLASS ACTION COMPLAINT
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    1 judgments. In contrast, a class action presents far fewer management difficulties;
    2 allows the hearing of claims that might otherwise go unaddressed; and provides the
    3 benefits of single adjudication, economies of scale, and comprehensive supervision
    4 by a single court.
    5               Nature of Notice to the Proposed Class. The names and addresses of
    6 all members of the Extension Class are contained in the business records
    7 maintained by Wilco and are readily available to Wilco. The Extension Class
    8 members are thus readily and objectively identifiable. Plaintiff contemplates that
    9 notice will be provided to Class members by direct mail.
   10                             FIRST CAUSE OF ACTION
   11                                  (Breach of Contract)
   12               Plaintiff refers to the prior paragraphs of this Complaint and
   13 incorporate those paragraphs as though set forth in full in this cause of action.
   14               The Settlement Agreement is an enforceable contract between Wilco
   15 and Plaintiff and other members of the Extension Class, incorporated and approved
   16 by the Court in an enforceable Final Judgment.
   17               At all relevant times, Plaintiff and members of the Extension Class
   18 performed all their obligations under the Settlement Agreement.
   19               As alleged above, Wilco owed duties and obligations to Plaintiff and
   20 the Extension Class members under the Settlement Agreement, including, but not
   21 limited to, the extension of coverage during the Extension Period at no cost or
   22 charge to them and the payment of death proceeds thereunder without reduction for
   23 the Retroactive Premium Charge.
   24               Through its unilateral deduction of the Retroactive Premium Charge,
   25 Wilco has materially breached and/or anticipatorily breached the terms and
   26 provisions of the Settlement Agreement.
   27
   28                                       10
                                 CLASS ACTION COMPLAINT
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    1                Wilco’s conduct and material breaches of the Settlement Agreement
    2 have caused or will cause damage to Plaintiff and the other members of the
    3 Extension Class in an amount to be determined at trial.
    4                                 PRAYER FOR RELIEF
    5          WHEREFORE, Plaintiff, individually and on behalf of the Extension Class,
    6 prays for relief as follows:
    7          A.    An Order certifying this action to proceed as a class action on behalf
    8 of the Extension Class, and appointing Plaintiff and the counsel listed below to
    9 represent the Extension Class;
   10          B.    An Order determining and declaring that Wilco’s reduction of death
   11 proceeds paid under the Extension Benefit by the Retroactive Premium Charges
   12 constitutes a material breach of the Settlement Agreement, and that Wilco must pay
   13 the full death proceeds due under the Extension Benefit without cost to the
   14 policyowner or beneficiary as provided in the Settlement Agreement;
   15          C.    An Order awarding restitution or compensatory damages to Plaintiff
   16 and the other beneficiary members of the Extension Class, plus prejudgment and
   17 post-judgment interest;
   18          D.    An Order awarding Plaintiff and all members of the Extension Class
   19 such other equitable relief as the Court deems proper;
   20          E.    An Order awarding attorneys’ fees, expert witness fees and other costs
   21 pursuant to applicable common fund jurisprudence; and
   22          F.    An Order awarding such other and further relief as may be just.
   23
                                  DEMAND FOR JURY TRIAL
   24
               Plaintiff demands a jury trial of all issues triable by jury.
   25
        ////
   26
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   27
   28                                        11
                                  CLASS ACTION COMPLAINT
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    1 Dated: March 13, 2019.       BONNETT, FAIRBOURN, FRIEDMAN
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